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Quinn emmanuel trial lawyers

September 25, 2012 Matter # 61937
Page 1025 Invoice # 1186440

Date Timekeeper Description . Hours

      
     

08/27/12 WHi Performed first level review of documents from@@ge 12,20
and (for responsiveness and initial identification of
potentially privileged documents for further review and

eventual inclusion the privilege log ordered by the Court. The

overall purpose of this first-level review is to determine which
documents are responsive to the Defendants’ requests for

production and, given the responses and objections that@@ag

has made, which documents should be withheld from
production for either privilege or non-responsiveness.

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PRIVILEGED AND CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER QE00213165
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and @ tor responsiveness and initial identification of
potentially privileged documents for further review and
eventual inclusion the privilege log ordered by the Court. The
overall purpose of this first-level review is to determine which
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PRIVILEGED AND CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER QE00213225
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potentially privileged documents for further review and
eventual inclusion the privilege log ordered by the Court. The
overall purpose of this first-level review is to determine which
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PRIVILEGED AND CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER QE00213284
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production for either privilege or non-responsiveness.

 

 

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PRIVILEGED AND CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER QE00213344
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